Case 2:19-cv-00254-JPH-MJD Document 55 Filed 08/28/20 Page 1 of 2 PageID #: 326




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 SHAWN WILLIAMS,                                        )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )       No. 2:19-cv-00254-JPH-MJD
                                                        )
 OUTLAW, et al.                                         )
                                                        )
                               Defendants.              )

                                                Order

        The dispositive motion deadline has passed with no dispositive motion having been filed

 by either the plaintiff or the defendants. Accordingly, this case will now proceed to settlement or

 trial if one is necessary. If the plaintiff wishes to request that the Court attempt to recruit counsel

 to represent him for these purposes, he should file a motion for assistance with recruiting counsel

 on the Court's form by September 25, 2020. The clerk shall include a form motion with the

 plaintiff's copy of this Order.

 SO ORDERED.

 Date: 8/28/2020




                                                   1
Case 2:19-cv-00254-JPH-MJD Document 55 Filed 08/28/20 Page 2 of 2 PageID #: 327




 Distribution:

 SHAWN WILLIAMS
 178128
 WABASH VALLEY - CF
 WABASH VALLEY CORRECTIONAL FACILITY - Inmate Mail/Parcels
 Electronic Service Participant – Court Only

 All Electronically Registered Counsel




                                         2
